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                UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF IOWA

IN RE:                                       Chapter 11, Subchapter V

O & A Enterprises, LLC,                      Bankruptcy No. 22-00295

       Debtor-in-Possession.                 THIRD EX PARTE MOTION TO
                                             CONDUCT RULE 2004
                                             EXAMINATIONS

COMES NOW the Debtor-in-Possession, O & A Enterprises, LLC (“Debtor” or
“O & A”) through its undersigned counsel, and hereby respectfully requests this
Court allow it to conduct a Rule 2004 examinations in the above-captioned bank-
ruptcy. For reasons set forth below, O & A is requesting permission to obtain docu-
ments from, examine, and issue subpoenas to Coinbase. In support thereof, Debtor
submits the following:

                Jurisdiction and Statutory Justification
   1. This Court has jurisdiction over this matter under to 28 U.S.C. § 1334. Venue
      is proper in this District under 28 U.S.C. §§ 1408 & 1409. Consideration of this
      motion is a core proceeding under 28 U.S.C. § 157(b)(2). The statutory predi-
      cate for the relief requested herein is Fed. R. Bankr. P. 2004.
   2. Rule 2004 provides that, upon a motion of a party in interest, the Court may
      order the examination of any entity concerning “the acts, conduct, or property
      or to the liabilities and financial condition of the debtor, or to any matter which
      may affect the administration of the debtor’s estate, or to the debtor’s right to
      a discharge.” Fed. R. Bankr. P. 2004(b).
   3. Rule 2004 is intended to give parties in interest an opportunity to examine
      those persons possessing knowledge of a debtor’s acts, conduct or financial af-
      fairs and provides “all interested parties with a mechanism for the investiga-
      tion and reconstruction of the debtor’s affairs.” In re Isis Foods, Inc., 33 B.R.
      45, 46 n.2 (Bankr. W.D. Mo. 1983) (citation omitted).
   4. As the United States Bankruptcy Court for the Northern District of Indiana
      was held:
              Rule 2004 allows for the court to authorize the examination of any
              entity on the motion of any party in interest. Fed. R. Bankr. P.
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            Rule 2004(a). The scope of such an examination is quite broad,
            relating to just about anything that deals with the debtor’s ac-
            tions, assets, liabilities or financial affairs, its right to a dis-
            charge, or any matter affecting the administration of the bank-
            ruptcy estate. Fed. R. Bankr. P. Rule 2004(b). It can be as simple
            as where are the keys to the filing cabinet or as complex as what
            happened to the money? It may also be used to examine “creditors
            and third parties who have had dealings with the debtor.”
     In re Sheetz, 452 B.R. 746, 747-48 (Bankr. N.D. Ind. 2011) (quoting Matter of
     Wilcher, 56 B.R. 428, 433 (Bankr. N.D. III. 1985)). Examinations under Rule
     2004 are subject only to the relevancy test of Fed. R. Civ. P. 26 and may legit-
     imately be fishing expeditions. Chereton v. U.S., 286 F.2d 409, 416 (6th Cir.
     1961) (citing In re Forest, 93 F. 190 (S.D.N.Y. 1899)); see generally 1 Bankr. L.
     Manual (5th ed.) § 3.21 at n.34 (citing cases broadly construing scope of Rule
     2004 examinations).
  5. Fed R. Bankr. P. 2004(c) authorizes the use of subpoenas as provided in Fed.
     R. Bankr. P. 9016, which incorporates Fed. R. Civ. P. 45’s rules on subpoenas.
  6. Other courts allow motions to conduct Rule 2004 examinations to be considered
     and granted ex parte. See, e.g., Sheetz, 452 B.R. at 748 (allowing consideration
     of Rule 2004 motions ex parte since, when such motions are correctly used and
     implemented, orders granting them do not require anything of the other party,
     and any disputes that might arise can be handled under now-Fed. R. Civ. P.
     45(d)’s objection procedures) (citations omitted).
  7. The Debtor is entitled to conduct Rule 2004 examinations via subpoenas to
     produce documents, allow premise inspections, and sit for depositions to inves-
     tigate the “acts, conduct, or property or to the liabilities and financial condition
     of the debtor, or to any matter which may affect the administration of the
     debtor’s estate, or to the debtor’s right to a discharge.” Fed. R. Bankr. P.
     2004(b).


                                      Background
  8. Debtor filed its Chapter 11 Subchapter V bankruptcy on March 27, 2022, be-
     ing the last day of the pandemic debt limit of $7.5 million. Due to circum-
     stances beyond his control and described herein, managing member Johan
     Aerts did not know if the debt limit would exceed the pre-pandemic limit of
     $2,725,625.00.
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   9. The Background Statement by Manager of Debtor (Doc. 13) filed March 31,
      2022 gives a detailed synopsis and timeline of the breakdown in the business
      partnership of O & A members Eric O’Leary (hereinafter “O’Leary”) and Jo-
      han Aerts (hereinafter “Aerts”).

               Newly Discovered Coinbase Transactions
   10. In December 2021 and January 2022 O’Leary caused O & A to borrow hun-
       dreds of thousands of dollars from merchant cash advance lenders Mulligan
       Funding, Bluevine Capital, OnDeck Capital, Samson Horus, and The Fund-
       works. Within 24 hours of those funds being deposited in O & A’s bank ac-
       counts O’Leary transferred a total of $465,000.00—almost entirely these bor-
       rowed funds—to a non-O & A account. O & A has used this Court’s prior Rule
       2004 authorization to learn that this account was an O’Leary personal account
       and that shortly after these funds made it to that account they were wired to
       Coinbase, a cryptocurrency exchange.
   11. Prior to December 2021 O’Leary also transferred thousands of dollars from his
       personal accounts to Coinbase. O & A believes that some or all of this money
       may be traceable to funds O’Leary improperly took from it. Moreover, in No-
       vember and December 2021 O’Leary moved hundreds of thousands of dollars,
       from a TD Ameritrade account or accounts, suspected to be retirement ac-
       counts he funded with funds he improperly took from O & A, through his
       checking account and out to parts unknown, in transactions that look similar
       to those used to transfer the $465,000.00. All of these transfers are separate
       from the transfers described in ¶ 10.
   12. Debtor wishes to further trace the $465,000.00 O’Leary embezzled from O & A
       and the other funds he may have improperly taken from O & A.
WHEREFORE the Debtor-in-Possession respectfully requests this Court grant this
ex parte Motion for Rule 2004 Examination by entering an order authorizing Ag &
Business Legal Strategies, as Debtor’s counsel, to issue subpoenas for Rule 2004 ex-
aminations to Coinbase, and grant such other relief as is just and equitable given the
circumstances.
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Dated this 2nd day of February, 2023.
                                          Respectfully submitted,

                                          A G & B USINESS L EGAL S TRATEGIES

                                          /s/ Austin Peiffer
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                          CERTIFICATE OF SERVICE
The undersigned hereby certifies that on the 2nd day of February, 2023, a copy of the
foregoing document was filed with the Clerk of Court for the United States Bank-
ruptcy Court for the Southern District of Iowa using the CM/ECF system, and served
electronically on those participants that receive service through the CM/ECF system.
                                          Signed: /s/ Leah M. Watson
